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 11 Marie Veneracion
 12
 13                            UNITED STATES DISTRICT COURT
 14                           CENTRAL DISTRICT OF CALIFORNIA
 15                                 WESTERN DIVISION
 16
 17 Marie Veneracion,                         Case No.: 2:18-cv-04382-ODW-JPR
 18               Plaintiffs,                 STIPULATION OF DISMISSAL
 19                                           WITHOUT PREJUDICE
              vs.
 20 Wilshire Commercial Capital L.L.C. dba
 21 Wilshire Consumer Capital,
 22               Defendant.

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      2:18-cv-04382-ODW-JPR                                   STIPULATION OF DISMISSAL
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  1                                STIPULATION OF DISMISSAL
  2
            The parties to the above-entitled action, pursuant to FRCP 41(a)(1)(ii), hereby
  3
      stipulate that the above-captioned action is hereby dismissed in its entirety without
  4
      prejudice and with each side to bear its own attorneys’ fees and costs.
  5
  6
  7
      Plaintiff                               Defendant
  8
      _/s/ Trinette G. Kent____               _/s/ Edit Alexandryan ___
  9
      TRINETTE G. KENT                        EDIT ALEXANDRYAN
 10   Attorney for Plaintiff                  Attorney for Defendant
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      2:18-CV-04382-ODW-JPR                    -2-                    STIPULATION OF DISMISSAL
